Case 2:21-cv-05301-SB-SK Document 8 Filed 11/10/21 Page 1 of 1 Page ID #:30




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                  CE N TR AL D I STR I CT OF CALI F OR N I A


CURTIS SAWYER,                             Case No. 2:21-cv-5301-SB (SK)
                    Plaintiff,
             v.                            J U D GM E N T
UNITED STATES OF AMERICA et
al.,
                    Defendants.




      Pursuant to the Order Dism issing Action for Lack of Prosecution, I T
I S AD J U D GE D that this action is dism issed without prejudice.

Dated: November 9, 2021



                                            Stanley Blumenfeld, Jr.
                                           United States District Judge
